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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                      (at Covington)

    STATE OF TENNESSEE, et al.,                 )
                                                )
          Plaintiffs,                           )          Civil Action No. 2: 24-072-DCR
                                                )
    V.                                          )
                                                )
    MIGUEL CARDONA, in his Official )                                  ORDER
    Capacity as Secretary of Education, et al., )
                                                )
          Defendants.                           )

                                       ***   ***    ***   ***

         Having reported the parties’ agreement that no discovery is needed in this matter, the

  plaintiff-States seek entry of a briefing schedule for dispositive motions. In the interest of

  expeditious resolution of this matter, it is hereby

         ORDERED as follows:

         1.      The defendants are directed to file a response to the plaintiffs’ motion for entry

  of a briefing schedule on or before Monday, July 8, 2024. The defendants’ response should

  include their proposed briefing schedule for resolution of the issues presented in this case.

         2.      The plaintiffs’ motion will stand submitted to the Court upon filing of the

  defendants’ response.

         Dated: July 3, 2024.




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